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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION

                     CASE NO. 13‐20514‐CR‐GRAHAM/GOODMAN

  UNITED STATES OF AMERICA

  v.

  FRANCISCO B. CARTAYA,
  EMILIO MEDEROS, and
  MARIO R. TRIANA MARTINEZ,

           Defendants.
  ___________________________________/

             REPORT AND RECOMMENDATIONS ON CHANGE OF PLEA

        THIS CAUSE is before the Undersigned on the District Court’s Orders of

  Reference [ECF Nos. 87; 95] to conduct a change of plea hearing for the acceptance of

  the defendants’ guilty pleas, and the Undersigned, having conducted the hearing,

  recommends to the District Court as follows:

        1.     On October 8, 2013, the Undersigned convened a hearing to permit each of

  the defendants to enter a change of plea. The Undersigned advised the defendants of

  their right to have these proceedings conducted by the District Judge assigned to the

  case. Further, the Undersigned advised the defendants that the Undersigned was

  conducting the change of plea hearing on two Orders of Reference from the District

  Court and with the agreement of the defendants, the defendants’ attorneys, and the
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  Assistant United States Attorney assigned to this case. The Undersigned further advised

  the defendants that the District Judge assigned to this case would be the sentencing

  judge and would make all findings and rulings concerning the defendants’ respective

  sentences and would conduct a sentencing hearing at a time set by the District Court.

        2.     The Undersigned advised the defendants that they did not have to permit

  the Undersigned United States Magistrate Judge to conduct this hearing and could

  require that the change of plea hearing be conducted only by a United States District

  Judge. The defendants, the defendants’ attorneys, and the Assistant United States

  Attorney assigned to the case all agreed on the record to the Undersigned conducting

  the change of plea hearing.

        3.     The Undersigned conducted a plea colloquy in accordance with Rule 11 of

  the Federal Rules of Criminal Procedure.

        4.     Each defendant has entered into a plea agreement with the government.

  The Undersigned reviewed each plea agreement on the record with each defendant and

  had each defendant acknowledge that he had signed the respective plea agreement. The

  Undersigned also made certain that each defendant was aware of any minimum

  mandatory sentences and maximum sentences which could be imposed in this case

  pursuant to his plea agreement and the applicable statutes.



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         5.     Defendant Francisco B. Cartaya (“Cartaya”) pled guilty to Count I as set

  forth in the Indictment, which charges him with conspiracy to commit wire fraud in

  violation of 18 U.S.C. § 1349. [ECF No. 3].

         6.     Defendant Emilio Mederos (“Mederos”) pled guilty to Count I as set forth

  in the Indictment, which charges him with conspiracy to commit wire fraud in violation

  of 18 U.S.C. § 1349. [ECF No. 3].

         7.     Defendant Mario R. Triana Martinez (“Triana”) pled guilty to Count I as

  set forth in the Indictment, which charges him with conspiracy to commit wire fraud in

  violation of 18 U.S.C. § 1349. [ECF No. 3]. The government agreed to dismiss the

  remaining counts of the Indictment against Triana.

         8.     Each defendant agreed that he would forfeit all his interest in property

  that he has accumulated as a result of illegal activities.

         7.     Through three separate written factual proffers signed by each defendant,

  the government stated a factual basis for the entry of the plea, which included all of the

  essential elements of the crime to which each defendant is pleading guilty, and any

  sentencing enhancements and/or aggravating factors that may be applicable. Each

  defendant acknowledged the accuracy of the factual proffer he signed and

  acknowledged his guilt and knowing participation in the alleged crimes.



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        8.     Based upon all of the foregoing and the plea colloquy conducted by the

  Undersigned, the Undersigned respectfully recommends to the District Court that each

  defendant be found to have freely and voluntarily entered a guilty plea to Count I of the

  Indictment, and that each defendant be adjudicated guilty.

        9.     A pre‐sentence investigation report is being prepared for the District

  Court by the United States Probation Office, and sentencing for defendants Triana and

  Mederos has been set for December 18, 2013 at 10:30 a.m., at the Wilkie D. Ferguson, Jr.

  United States Courthouse, 400 North Miami Avenue, Courtroom 13‐4, Miami, Florida.

  Sentencing for defendant Cartaya has been set for December 18, 2013 at 2:30 p.m., at the

  Wilkie D. Ferguson, Jr. United States Courthouse, 400 North Miami Avenue, Courtroom

  13‐4, Miami, Florida.

        ACCORDINGLY, the Undersigned respectfully recommends to the District

  Court that each defendant’s plea of guilty be accepted, each defendant be adjudicated

  guilty of the offenses to which a plea of guilty has been entered, and that a sentencing

  hearing be conducted for final disposition of this matter.

        The parties shall have 14 days from the date of this Report and

  Recommendations within which to file objections, if any, with the Honorable Donald L.

  Graham, United States District Judge assigned to this case. Failure to file timely

  objections waives a party’s right to review issues related to the defendant’s plea under

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  Fed. R. Crim. P. 11 before the District Judge or the Court of Appeals (even under a plain

  error standard). See Fed. R. Crim. P. 59(b)(1), (2), cited in United States v. Lewis, 492 F.3d

  1219, 1222 (11th Cir. 2007) (en banc).

          RESPECTFULLY RECOMMENDED, in Chambers, in Miami, Florida, October 8,

  2013.




  Copies furnished to:
  Honorable Donald L. Graham
  All Counsel of Record
  United States Probation




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